              Case 7:21-mj-00230-UA Document 3 Filed 01/11/21 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                      CONSENT TO PROCEED BY VIDEO OR
                                                                                TELE CONFERENCE
                             -against-
                                                                                   -CR-    ( )( )

                                                                                 21 mag 230
Jose Zafra
                                                 Defendant(s).
-----------------------------------------------------------------X

Defendant _Jose Zafra__________________________________ hereby voluntarily consents to
participate in the following proceeding via _x__ videoconferencing or _x__ teleconferencing:

_x__     Initial Appearance Before a Judicial Officer

___      Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Bail/Detention Hearing

___      Conference Before a Judicial Officer



_______________________________                                      _________________________________
Defendant’s Signature                                                Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

_____________________________                                        ________________________________
Print Defendant’s Name                                               Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

___________________                                                  _________________________________
Date                                                                 U.S. District Judge/U.S. Magistrate Judge
